Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 1 of 6
Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 2 of 6
Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 3 of 6
Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 4 of 6
Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 5 of 6
Case 1:12-cr-00192-LJO-SKO Document 53 Filed 07/10/14 Page 6 of 6
